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 1   Mohammed O. Badwan
     Sulaiman Law Group, Ltd.
 2   2500 S. Highland Ave., Ste. 200
 3   Lombard, IL 60148
     (708) 263-5558
 4   mbadwan@sulaimanlaw.com
     Attorney for the Plaintiff
 5
                                 UNITED STATES DISTRICT COURT
 6                                    DISTRICT OF NEVADA
 7

 8    MARISSA E. HARRIS,

 9           Plaintiff,                                   Case No. 3:21-cv-00465-MMD-CSD

10           v.                                           STIPULATED DISCOVERY PLAN AND
                                                          SCHEDULING ORDER
11
      FIRST NATIONAL COLLECTION
12    BUREAU, INC.,
13
             Defendant.
14
            Plaintiff Marissa E. Harris (“Plaintiff”) and Defendant First National Collection Bureau,
15
     Inc., by and through their undersigned counsel of record, submit the following Stipulated Discovery
16
     Plan and Scheduling Order pursuant to Fed. R. Civ. P. 26(f) and LR 26-1.
17

18
        (1) Discovery Cut-Off Date: Defendant first appeared by responding to Plaintiff’s complaint
19          on April 19, 2022. Accordingly, the Discovery Cut-Off is October 17, 2022 (180 days
            from Defendant’s answer/appearance).
20
        (2) Amending the Pleadings and Adding Parties: July 19, 2022
21

22
        (3) Fed. R. Civ. P. 26(a)(2) Disclosures (Experts):
23
            Expert disclosures: August 18, 2022
24          Rebuttal-expert disclosures: September 19, 2022

25
        (4) Dispositive Motions: November 16, 2022
26
27
        (5) Pretrial Order: December 16, 2022
28
                                                      1
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 1
        (6) Fed. R. Civ. P. 26(a)(3) Disclosures. December 30, 2022
 2

 3      (7) Alternative Dispute Resolution: The parties certify that they met and conferred about the
            possibility of using alternative dispute-resolution processes including mediation,
 4          arbitration, and if applicable, early neutral evaluation. Defendant is not interested in
            mediation or arbitration at this time.
 5
        (8) Alternative Forms of Case Disposition: The parties certify that have considered consent
 6          to trial by a magistrate judge and have chosen to not to consent.
 7      (9) Electronic Evidence. The parties certify that have discussed ESI and have agreed to
 8          produce all ESI in .pdf format.

 9

10         Date: June 22, 2022                           Respectfully submitted,
11
            /s/ Mohammed O. Badwan                         /s/ Kurt R. Bonds
12
             Mohammed O. Badwan                            Kurt R. Bonds
13          SULAIMAN LAW GROUP, LTD.                       ALVERSON TAYLOR & SANDERS
            2500 South Highland Avenue                     6605 Grand Montecito Parkway
14          Suite 200                                      Suite 200
            Lombard, Illinois 60148                        Las Vegas, Nevada 89149
15          (630) 575-8181                                 (702) 384-7000
            mbadwan@sulaimanlaw.com                         efile@alversontaylor.com
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            Counsel for Plaintiff                           Counsel for Defendant
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 8                                     ORDER

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     IT IS SO ORDERED:
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     DATED: June 28, 2022.
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                                  ____________________________________________
13                                THE HONORABLE CRAIG S. DENNEY
                                  UNITED STATES MAGISTRATE JUDGE
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